PS 42

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c 7%ase 2:04-cr-20473-JPl\/l DQHHW§§LHJ[§S ]j§lled 06/21/05 Page 1 of 2 Pagel

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Western Dlstrlct of Tennessee F£jm wng
United States of America ) ` a
vs ) 55 ' , .
Michael Szyrnanski ) 05 *;`~"Jll 2 l H"i [~`J .“51.
) Case No. 04~20473-01 Ml
. HOBi.-,HT E`. Di ` ‘-"* ?O
CONSENT TO MODIFY CONDITIONS OF RELEASE . - CLEHF<. U.S. Dl . ‘

. of
W.D, OF TN, r'vll;`i'leHlS
I, Michael Szymansln`, have discussed with Ed Towe / Angela K. Yates, Pretrial Services Officer,
modification of my release conditions as follows:

l) Submit to polygraph testing to monitor adherence to conditions of release and commission of
sexual offenses as directed by the supervising officer,

2) Employer to be notified of the nature of the instant indictment if internet service is available at
place of employment,

3) Submit to sex offender evaluation and treatment if deemed advisable by supervising officer,
4) R,efrain from possessing any photographic equipment

70n nttp;his modification of my release conditions and apgree to abide by this modification
' / %a¢@) / /
Signature o Defendant Date Pretrial Services/Pro%ation Date
Officer

I have re ew the conditions With my client and concur that this modification is appropriate
' /
` 5

mense Counsel Date

[”]Btbove modification of conditions of release is ordered, to be effective on Q:_Z»/[ 30~?\;

[ ] The above modification of conditions of release is not ordered

©f"` 0 M \OL.QQ‘ ibm 2l, 2005-§

ature of J udicial Officer Date

  

heat in compliance

the docket s
This document entered on k 65
with Flule 55 and/or 32{b} FRCrP on f 123

     
 

  

UNITED sTATE DISTRIC COUR - WETERN D'S'TRCT OFTENNESSEE

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This notice confirms a copy ofthe document docketed as number 18 in
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Honorable J on McCalla
US DISTRICT COURT

